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 The following constitutes the ruling of the court and has the force and effect therein described.

                                                                ______________________________
  Signed July 4, 2018                                           United States Bankruptcy Judge
 ______________________________________________________________________




                                         In the United States Bankruptcy Court
                                           For the Northern District of Texas
                                                 DALLAS DIVISION


In Re:                                                                           Case No. 17-32081-BJH-13
MATTHEW DEION BATEMAN
          Debtor


                       Order Dismissing Chapter 13 Case Pursuant to General Order 2017-01
                                               Without Prejudice

On representation of the Standing Chapter 13 Trustee as evidenced by the signature below that the Debtor failed to timely
pay the Trustee one or more post-confirmation specified in the Debtor's Confirmed Final Plan and that 17 days written
notice of such failure was given to Debtor and Attorney for Debtor, if any, prior to submission.

IT IS THEREFORE, FURTHER ORDERED that this case is hereby DISMISSED pursuant to General Order
2017-01 and that all debts due and owing creditors as of this date are NOT DISCHARGED or affected in any manner by
this order.


                                                 ### End of Order ###
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17-32081-BJH-13
MATTHEW DEION BATEMAN


Approved: /s/ Thomas D. Powers
          Thomas D. Powers, Trustee
          State Bar # 16218700
          Office of the Standing Chapter 13 Trustee
          105 Decker Ct
          Suite 1150 11th Floor
          Irving, TX 75062
          (214) 855-9200 / (214) 965-0757 (Fax)
